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                                            DISTRICT O F NEV ADA

     USA
                          Plaintiftl
                                                                    D istrictN o. 2:10-CR-036I-LDG -IU J
     VS.


     OSCA R N OE SANC HEZ-LA RIO S


                          Defendant.

                             O R DER TEM PO RARILY UN SEALING T RANSCRIPT

            0n April6tb 2011thiscourtreceived atranscriptorderform dated April6,2011requesting aTranscript of
    thehearingheldonFebruary 23,2011from M r.M arioD .V alencia,counselforDefendantOscarN oeSanchez-
    Larios,inwhicha portion ofthe hearing issealed.

             IT IS T HE O RDER O F TH E CO URT thatportion ofthesealedrecording shallbeunsealed by theClerk
    forthe limited purposeofproviding atzanscriptofhearing a.
                                                            srequestedby DefenseCounsel.


            IT IS FU RTH ER OR D ERED thattheportionofthesealedrecording shallthereaRerberesealedbythe
    Clerk untilfurtherorderofthisCourt.

            IT IS FURTH ER O RD ERED thatDefenseCounselshallnotdisclosethesealedcontentsofthetranscript
    to anyone otherthan therepresenltivesofthepartiesdirectlyconcem edwith thiscase,

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            DATED this .      day ofApril,2011.


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                                                                                                                i
                                                     LloydD George                                              i
                                                     United StatesDistrictJudge                                 i

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